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 1   MITCHELL D. GLINER,ESQ.
     Nevada Bar #003419
2
     3017 W.Charleston Blvd.,#95
 3   Las Vegas, NV 89102
     (702)870-8700
4
     (702)870-0034 Fax
     mgliner@glinerlaw.com
5
     Attomey for Plaintiff
 6

                                   UNITED STATES DISTRICT COURT
7

                                          DISTRICT OF NEVADA
8
     JORDAN D. ETZIG
 9


10
              Plaintiff,
                                                              Case No.
11   vs.


12
     EXPERIAN INFORMATION
13
     SOLUTIONS,INC.                                           JURY DEMANDED

14            Defendant

15


16                                             JURISDICTION

17
              1.      The jurisdiction ofthis Court attains pursuant to the FCRA, 15 U.S.C. Section
18
     1681(p), and the doctrine ofsupplemental jurisdiction. Venue lies in the Southern Division of
19
     the Judicial District of Nevada as Plaintiffs claims arose from acts ofthe Defendant perpetrated
20
     therein.
21
                                       PRELIMINARY STATEMENT
22
              2.      The Plaintiff brings this action for damages based upon Defendant's violations of
23
     the Fair Credit Reporting Act, 15 U.S.C § 1681 c/ seq. (hereinafter referred to as "FCRA"),and
24
     of state law obligations brought as supplemental claims.
25
              3.      Plaintiff is a natural person and is a "consumer" as defined by § 1681 a(c)of the
26
     FCRA.
27
              4.      The Defendant Experian Information Solutions, Inc.("Experian"), is a corporate
28
     entity licensed to do business in the State of Nevada.


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